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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                   8:14CR409

       vs.
                                                                     ORDER
EMMANUEL CHAPLAIN,

                      Defendant.


       This matter is before the court on the defendant’s Motion for a Copy of his Trial
Transcripts, Docket Sheet and Sentencing Transcripts (Filing No. 310). Upon review of the file,
the Court notes that the defendant’s criminal case is on appeal with the Eighth Circuit Court of
Appeals, and the defendant is currently represented by counsel regarding this appeal. The
defendant’s Motion for Copies will therefore be denied.
       IT IS ORDERED:
       1.     The defendant’s Motion for Copies [310] of his Trial Transcripts, Docket Sheet
and Sentencing Transcripts is denied.
       2.     The Clerk of Court shall mail a copy of this order to the defendant at his last
known address.


       Dated this 15th day of August, 2016.

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
